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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

JANESSA BOINTY,
Plaintiff,

Vs. Cause No.: CIV-23-1002-F

STATE OF OKLAHOMA, ex rel.,

THE OKLAHOMA STATE

DEPARTMENT OF EDUCATION, and

RYAN WALTERS, in his official

Capacity as the Superintendent of Public

Instruction for the State of Oklahoma,
Defendants,

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DEFENDANTS’ OKLAHOMA STATE DEPARTMENT OF EDUCATION AND
RYAN WALTERS IN HIS OFFICIAL CAPACITY AS SUPERINTENDENT OF
PUBLIC INSTRUCTION AMENDED ANSWER AND COUNTERCLAIM

Defendants State of Oklahoma ex rel. Oklahoma State Department of Education
and Ryan Walters, in his official capacity as Superintendent of Public Instruction,
(hereinafter “Official Defendants”) deny every allegation in Plaintiff's complaint unless
specifically admitted herein. For further response, Official Defendants state as follows:

1. Paragraphs | and 2 accurately restate the caption of the case.

2. Paragraph 3 is unclear. To the extent Plaintiff asserts claims rather than

summarizing her claims, Defendant denies.

3. Paragraph 4 is admitted.

4, To the best of Official Defendants’ current knowledge, paragraph 5 is correct.

5. Paragraph 6 is denied.

6. Defendants are without sufficient knowledge to admit or deny Paragraph 7,

and it is therefore denied.
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7. Defendants have no personal knowledge of suicide alleged in Paragraph 8.
Official Defendants are otherwise without sufficient knowledge to admit or deny Paragraph
8 in its entirety, and it is therefore denied in part,

8. Defendants are without sufficient knowledge to admit or deny Paragraph 9,
and it is therefore denied.

9, Paragraph 10 is denied. The statements at issue in the complaint are available

online for public consumption. See EPS Board Meeting — March 2023 at 24:19.1

10. Paragraph 11 is a legal conclusion to which no response is required. To the
extent a response is required, any factuai allegations in Paragraph [1 are denied.

11. Paragraph 12 is denied. The statements at issue in the complaint are available
online for public consumption, See EPS Board Meeting — March 2023 at 24:19,

12. Paragraph 13 contains a mixture of factual allegations and legal
conclusions. No response is required to the legal conclusions. The factual allegations are
denied. The statements at issue in the complaint are available online for public
consumption. See EPS Board Meeting — March 2023 at 24:19,

13. Defendants are without sufficient knowledge to admit or deny all the details

of Paragraphs 14-16, and they are therefore denied.

1 March Board of Education Meeting to be Live-Streamed on Youtube, Edmond Public
Schools, March 6, 2023, https://www.edmondschools.net/article/1 168294,

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14. Paragraph 17 is denied in part. Defendant State of Oklahoma ex rel.
Oklahoma State Department of Education admits it terminated Plaintiff on that date.
Defendant Ryan Waiters, in his official capacity, denies he terminated Plaintiff because
the termination was performed by staff with delegated authority.

15, Paragraph 18 is an incorrect paraphrase of a document with further details.
Official Defendants admit the existence of a termination document with multiple reasons
for termination but otherwise deny the remainder of Paragraph 18.

16. Defendants admit Paragraph 19.

17. Defendants deny Paragraph 20.

18. Paragraph 21 is a legal conclusion to which no response is required. To the
extent a response is required, any factual allegations in Paragraph 21 are denied.

19. Paragraph 22 is denied. The Oklahoma Office of Management and
Enterprise Services (OMES) with the requested response on June 19, 2023. OMES
subsequently denied the claim.

20. Paragraph 23 is denied.

21. Paragraph 24 is alleged against a different defendant and requires no
response from these Defendants. To the extent any portion can be construed as against
Official Defendants, such portion is denied.

22, Defendants deny the allegations in the prayer for relief, including denying

that Plaintiffis entitled to any relief.
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Affirmative Defenses
23. Plaintiff failed to state a claim upon which relief can be granted.

24, Plaintiff failed to exhaust administrative remedies.

Counterclaim
l. Plaintiff Janessa Bointy was an employee of the Oklahoma State Department
of Education.
2. Plaintiff was not an at-will employee.

3. Plaintiff's job title was School Counselor Specialist AWARE East.

4, PlaintifPs job duties included public communication regarding Project
AWARE.

5, Plaintiff spoke to the Edmond Public School Board regarding Project
AWARE.

6. When speaking at the Edmond Public School Board meeting, Plaintiff
presented herself as an employee of OSDE and Project AWARE.

7. Plaintiff did not consult with the Project AWARE Project Manager prior to
addressing the Edmond Public School Board.

8, Plaintiff's employment performance records include reprimands for previous
failures to appropriately communicate with her supervisor and other employees.

9, Plaintiff's employment performance records include advice instructing
Plaintiff to make improvement in keeping others informed.

10. Plaintiffs failure to communicate as required within OSDE prior to

addressing the Edmond Public School Board was just cause for termination.

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il. Plaintiff was aware or should have been aware she was violating agency
policy by addressing the Edmond Public School Board publicly,

12. Plaintiff's claim of wrongful termination is unfounded in the law.

13. Plaintiff knowingly and with malice has made and caused her legal counsel
to make false public statements regarding her termination from employment with OSDE.

14. Plaintiff knowingly and with malice has made and caused her legal counsel
to make false public statements regarding Superintendent Ryan Walters’ alleged
involvement in her termination from employment with OSDE.

15. Plaintiff knew these statements were false or had serious doubt as to whether
the statements were true or false at the time they were made.

16. Such false statements were intended to and have caused harm to the
reputation of the Oklahoma State Department of Education and Superintendent Ryan
Walters resulting in consequential damages subjecting the agency and Superintendent
Walters to public hatred, contempt, ridicule or disgrace resulting in financial loss and
damage to Defendants’ reputation, and/or emotional injury.

WHEREFORE, Defendants pray for judgment against Plaintiff Janessa Bointy, in
an amount in excess of $75,000.00, plus punitive/exemplary damages in an amount to be
proven at trial, attorney fees, costs, interest and any other relief that is just and equitable

and proper.
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RESPECTFULLY SUBMITTED THIS 15" DAY OF AUGUST, 2024,

Michael T. Beason, OBA #18535
Oklahoma State Department of Education
2500 N. Lincoln Blvd.

Oklahoma City, OK 73105

Telephone: 405.764.5314

Shannon. Smith@sde.ok.gov_

Attorneys for Defendant Ryan

Walters, in his official capacity as
Superintendent of Public Instruction
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CERTIFICATE OF SERVICE

A true copy of the foregoing was served on opposing counsel below listed via U.S.
Mail, postage pre-paid, and e-mail on this 15" day of August 2024.

Leah M. Roper OBA #32107
THE CENTER FOR EMPLOYMENT LAW

1133 N. Portland Ave,
Oklahoma City, OK 73107
Telephone: 405.252.1180

Leah@CenterForEmploymentLaw.com
ATTORNEY FOR PLAINTIFF

Timothy Davis

Alexandra Marie Williams
Jackson Walker, LLP |

777 Main Street, Suite 2100
Fort Worth, Texas 76102
(817) 334-7270
tdavis@jw.com
amwilliams@jw.com

Attorney for Defendant Ryan Walters, individually

ody,

rt ‘

Shannon D. Smith OBA #17346
Michael T. Beason, OBA #18535
Oklahoma State Department of Education
2500 N. Lincoln Blvd.

Oklahoma City, OK 73105

Telephone: 405.764.5314
Shannon.Smith@sde.ok.gov_

Attorney for Defendants Oklahoma State
Department of Education and Ryan
Walters, in his official capacity as
Superintendent of Public Instruction
